                       UNITED STATES COURT OF APPEALS
                           FOR THE FOURTH CIRCUIT


J.O.P, et al.,                       :
                                     :
                 Appellees,          :
                                     :
                 v.                  :        No. 25-1519
                                     :
U.S. Department of Homeland          :
Security, et al.                     :
                                     :
                 Appellants.         :

                          NOTICE PER LOCAL RULE 27(a)


       Pursuant to Local Rule 27(a), on May 7, 2025, counsel for Defendants-

Appellants informed counsel for Plaintiffs-Appellees of the impending filing of

Defendants-Appellants’ motion filed at Docket No. 8. Counsel for Plaintiffs-

Appellees opposes this motion.

DATED: May 8, 2025                   Respectfully submitted,
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